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IN THE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF TENNESSEE 05 APR 20 PH l¢= 2|

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WD. C ll"€\-JACKSON
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

VS. ) No. 04-10067-T-An

)
MICHAEL BRAD IUMPER, )
)
Defendant. )

 

ORDER DENYING MOTION TO DISMISS COUNTS ONE AND TWO

 

Defendant Michael Brad Jumper has moved the court to dismiss counts one and two
of the indictment that was filed against him [Docket # 15]. According to Defendant, these
two counts allege that Defendant "conspired to combine, confederate, and agree with others
to manufacture methamphetamine and to unlawfully, knowingly, and intentionally attempt
to manufacture a mixture of methamphetamine" but do not allege the actions of any person
other than Defendant which is necessary to form a conspiracy.

It is well-settled that a person can be convicted of conspiring with persons whose
names are unknown as long as the indictment asserts that such other persons exist and the
evidence supports their existence B Rogers v. United States, 340 U.S. 367, 375 (1951)
("Of course, at least two persons are required to constitute a conspiracy, but the identity of
the other members of the conspiracy is not needed, inasmuch as one person can be convicted

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of conspiring With persons whose names are unknown.") ln the present case, count one of
the indictment asserts that Defendant conspired with "persons both known and unknown."
Therefore, if the evidence supports such an allegation, then Defendant can be convicted of
the conspiracy alleged in count one. Count two of the indictment does not allege a
conspiracy.

F or these reasons, Defendant’s motion is DENIED.

lT IS SO ORDERED.

 

 

 

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Honorable J ames Todd
US DISTRICT COURT

